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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:17CR132
                                              )
       vs.                                    )
                                              )
KAYVON BERRY-SMITH                            )                 ORDER
                                              )
                     Defendant.               )


       This matter is before the court on defendant Kayvon Berry-Smith=s unopposed
Motion to Continue Trial [42]. Defense counsel is scheduled to pick a jury in Hall County,
Nebraska. Counsel also needs addition time to conduct plea negotiations. Defendant=s
counsel represents that defendant consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy
Trial Act. For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [42] is granted as follows:

       1. The jury trial now set for October 16, 2017 is continued to November 27, 2017.

        2. In accordance with 18 U.S.C. ' 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today=s date and November 27, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. ' 3161(h)(7)(A) & (B)(iv).

       DATED October 1, 2017.

                                     BY THE COURT:


                                     s/ Susan M. Bazis
                                     United States Magistrate Judge
